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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MISSOURI
                          EASTERN DIVISION

NAJAE JORDAN, et al.,                    )
                                         )
                   Plaintiffs,           )
                                         )
v.                                       )       No. 4:21-CV-1242 HEA
                                         )
WESLEY BELL, et al.                      )
                                         )
                   Defendants.           )


NAJAE JORDAN, et al.,                    )
                                         )
                   Plaintiffs,           )
                                         )
v.                                       )       No. 4:24-CV-844 HEA
                                         )
JASON LEE GROVES, et al.                 )
                                         )
                   Defendants.           )

                  OPINION, MEMORANDUM AND ORDER

      This matter is before the Court on Plaintiffs Najae Jordan and Deja Holland’s

Motion to Consolidate Jordan, et al. v. Bell, e al., 4:21-CV-1242 HEA, with Jordan,

et al. v. Groves, et al., 4:24-CV-844 PLC. (ECF No. 55). Defendants Village of

Riverview, City of Bellefontaine Neighbors, and Michael Pedroli oppose the motion,

which is briefed and ripe for review.

      Rule 42(a) of the Federal Rules of Civil Procedure governs consolidation of

cases and provides: “[i]f actions before the court involve common questions of law
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or fact, the court may (1) join for hearing or trial any or all matters at issue in the

actions; (2) consolidate the actions; or (3) issue any other orders to avoid

unnecessary cost or delay.” Fed. R. Civ. P. 42(a). A district court has broad

discretion in determining whether to order consolidation. Enter. Bank v. Saettele,

21 F.3d 233, 235 (8th Cir. 1994). While the threshold issue is whether the

proceedings involve common issues of fact or law, the Eight Circuit Court of

Appeals has instructed that the purpose of consolidation is to promote convenience

and economy in the administration of actions. Id.

      After careful review of the parties’ briefs and the record from the two cases,

the Court finds that consolidation is appropriate. In Jordan, et al. v. Bell, e al., 4:21-

CV-1242 HEA, Plaintiffs Jordan and Holland filed suit against Defendants Wesley

Bell, Village of Riverview, Jason Groves, Michael Pedroli, City of Bellefontaine

Neighbors, Jeffrey Lakebrink, and Christopher Graville alleging claims, pursuant to

42 U.S.C. § 1983, for violations of their civil rights. Plaintiffs’ claims are based on

their arrests and a search that occurred in 2016, as well as the court proceedings that

followed. On September 15, 2022, the Court dismissed with prejudice Defendants

Bell and Graville for failure to state a claim pursuant to Rule 12(b)(6) of the Federal

Rules of Civil Procedure.       On January 1, 2024, the Court dismissed without

prejudice Defendants Groves and Lakebrink for Plaintiffs’ failure to obtain timely

and proper service.


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       On June 18, 2024, Plaintiffs Jordan and Holland filed suit against Defendants

Groves and Lakebrink alleging essentially the same claims that they alleged against

the two defendants in Jordan, et al. v. Bell, e al., 4:21-CV-1242 HEA. This case

was given case number 4:24-CV-844 PLC and assigned to the Honorable Patricia L.

Cohen. Plaintiffs indicated on the Original Filing Form that the case was the same

or substantially similar to 4:21-CV-1242 HEA.

       In opposing consolidation, Defendants do not dispute that there are common

issues of law and fact, but rather they argue consolidation would add unnecessary

confusion and would require the parties to go through yet another round of motions. 1

The Court does not agree and finds that consolidation is warranted to promote

judicial efficiency.

       Accordingly,

       IT IS HEREBY ORDERED that Plaintiffs Najae Jordan and Deja Holland’s

Motion to Consolidate is GRANTED. Jordan, et al. v. Bell, e al., 4:21-CV-1242

HEA is consolidated with Jordan, et al. v. Groves, et al., 4:24-CV-844 PLC pursuant

to Fed. R. Civ. P. 42(a). [ECF No. 55]




       1
        Pending in 4:24-CV-844 PLC is Defendants Grove and Lakebrink’s Rule 12(b)(6) Motion
to Dismiss for failure to state a claim. The two Defendants argue that Plaintiffs’ claims against
them are barred by the applicable statute of limitations. The motion is briefed and ripe for review.

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      IT IS FURTHER ORDERED that the Clerk of Court shall docket and file a

copy of this Opinion, Memorandum and Order in Jordan, et al. v. Groves, et al.,

4:24-CV-844 PLC.

      IT IS FURTHER ORDERED that the Clerk of Court shall administratively

close Case No. 4:24-CV-844 PLC, and all future filings concerning either case shall

be filed in Consolidated Case No. 4:21-CV-1242 HEA, with the consolidated case

caption as set forth above.

      Dated this 2nd day of October, 2024.




                                           ___________________________________
                                               HENRY EDWARD AUTREY
                                           UNITED STATES DISTRICT JUDGE




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